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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS

Gabriel Rojas (#20190813216),                    )
                                                 )
               Plaintiff,                        )   Case No. 20 C 5640
                                                 )
       v.                                        )   Hon. Steven C. Seeger
                                                 )
Officer Orozco, et al.,                          )
                                                 )
               Defendants.                       )

                                             ORDER

        The Court grants Plaintiff’s application for leave to proceed in forma pauperis [3]. The
trust fund officer at Plaintiff’s place of incarceration is authorized to deduct $16.53 from
Plaintiff’s account for payment to the Clerk of Court as an initial partial payment of the filing
fee, and to continue making monthly deductions in accordance with this order. The Clerk of
Court should send a copy of this order electronically to the trust fund officer at Cook County Jail
and to the Court’s Fiscal Department. The Court directs the Clerk of Court to: (1) file
Plaintiff’s complaint [1]; (2) issue summonses for service of the complaint on Defendants
Orozco, Hidalgo, and Gumble; and (3) send Plaintiff three blank USM-285 service forms, a
magistrate judge consent form, filing instructions, and a copy of this order. The Court advises
Plaintiff that a completed USM-285 form for each Defendant is required for service. The U.S.
Marshal will not attempt service of the complaint on a Defendant unless and until the required
form for that Defendant is received. The U.S. Marshal is appointed to serve Defendants upon
receipt of the Forms USM-285. Plaintiff’s motion for attorney representation [4] is denied
without prejudice.

                                         STATEMENT

        Plaintiff Gabriel Rojas, a pretrial detainee at Cook County Jail, brings this pro se civil
rights action pursuant to 42 U.S.C. § 1983 alleging that three jail officers used excessive force
against him. The Court considers Plaintiff’s application for leave to proceed in forma pauperis,
his complaint, his motion for attorney representation, and his request for clarification.

Plaintiff’s Application for Leave to Proceed in Forma Pauperis

         Plaintiff’s application for leave to proceed in forma pauperis is granted because it
demonstrates that he cannot prepay the filing fee. See IFP Application (Dckt. No. 3).
Pursuant to 28 U.S.C. § 1915(b)(1), (2), the Court orders: (1) Plaintiff to immediately pay (and
the facility having custody of him to automatically remit) $16.53 to the Clerk of Court for the
initial partial filing fee and (2) Plaintiff to pay (and the facility having custody of him to

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automatically remit) to the Clerk of Court twenty percent of the money he receives for each
calendar month during which he receives $10.00 or more, until the $350 filing fee is paid in full.
The Court directs the Clerk of Court to ensure that a copy of this order is mailed to each facility
where Plaintiff is housed until the filing fee has been paid in full. All payments shall be sent to
the Clerk of Court, United States District Court, 219 South Dearborn Street, Chicago, Illinois
60604, attn: Cashier’s Desk, 20th Floor, and shall clearly identify Plaintiff’s name and the case
number.

Initial Review of Plaintiff’s Complaint

        Under 28 U.S.C. § 1915A, the Court is required to screen prisoners’ complaints and
dismiss the complaint, or any claims therein, if the Court determines that the complaint or claim
is frivolous or malicious, fails to state a claim on which relief may be granted, or seeks monetary
relief against an immune defendant. See Jones v. Bock, 549 U.S. 199, 214 (2007); Turley v.
Rednour, 729 F.3d 645, 649 (7th Cir. 2013). Courts screen prisoners’ complaints in the same
manner they review motions to dismiss under Federal Rule of Civil Procedure 12(b)(6).
Maddox v. Love, 655 F.3d 709, 718 (7th Cir. 2011).

        A complaint must include “a short and plain statement of the claim showing that the
pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). The short and plain statement must “give
the defendant fair notice of what the claim is and the grounds upon which it rests.” Bell Atl.
Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citation omitted). When screening a pro se
plaintiff’s complaint, courts construe the plaintiff’s allegations liberally. Erickson v. Pardus,
551 U.S. 89, 94 (2007) (per curiam). The complaint must contain sufficient factual matter to
“state a claim to relief that is plausible on its face,” which means that the pleaded facts must
show there is “more than a sheer possibility that a defendant has acted unlawfully.” Ashcroft v.
Iqbal, 556 U.S. 662, 678 (2009). Courts must “accept all well-pleaded facts as true and draw
reasonable inferences in the plaintiffs’ favor.” Roberts v. City of Chicago, 817 F.3d 561, 564
(7th Cir. 2016).

        Here, Plaintiff states that he was transferred from Division 16 at Cook County Jail to Tier
2-A of Division 6 in May of 2020. See Cplt., at 4 (Dckt. No. 14). After his transfer, Plaintiff
did not receive his prescribed medication for his seizures and anxiety. Id. Plaintiff brought
the problem to the attention of officers and medical staff and filed grievances, but he did not
receive his medication. Id.

        On May 16, 2020, Plaintiff refused to return to his cell to lock up for the evening until he
was able to speak with someone about his medication. Id. Sergeant Gumble, Officer Orozco,
and Officer Hidalgo came to the tier to speak with Plaintiff. Id. at 5. Gumble told Plaintiff to
lock up in his cell. Id. Plaintiff instead asked her about his medication. Id. Gumble told
Plaintiff she would get his medication and again directed him to lock up. Id. Plaintiff began
walking back to his cell, escorted by Gumble, Orozco, and Hidalgo. Id. As he walked to the

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cell, Gumble began shaking a can of mace, Orozco twisted his wrist, and Hidalgo pushed him.
Id.

        Plaintiff states he “made them aware that there was no reason for that” because he was
complying and going back to his cell. Id. When the officers continued to push him, Plaintiff
turned around to ask them what the problem was. Id. at 6. At that point, Plaintiff states the
officers lunged at him and struck him several times. Id. Plaintiff put his hands up and walked
backwards to his cell. Id. Orozco and Hidalgo again lunged at Plaintiff, punched him several
times in the face and head and threw him to the floor. (Id.) Gumble then sprayed Plaintiff
with mace even though Plaintiff alleges he was “detained already.” Id. Based on these events,
Plaintiff claims that Gumble, Orozco, and Hidalgo’s use of force against him was unreasonable.1

        Jail officials violate a detainee’s constitutional due process rights when their use of force
is objectively unreasonable. See Kingsley v. Hendrickson, 135 S. Ct. 2466, 2473 (2015);
Forrest v. Prine, 620 F.3d 739, 744 (7th Cir. 2010). Force is unreasonable when it is not
“rationally related to a legitimate nonpunitive governmental purpose,” such as maintaining order,
or is “excessive in relation to that purpose.” Kingsley, 135 S. Ct. at 2473. Plaintiff’s
allegations that Gumble, Orozco, and Hidalgo beat him and sprayed him with mace even though
he was returning to his cell as directed sufficiently state constitutional claims for excessive force.
Although Plaintiff initially refused to lock up for the evening, he alleges that he was complying
when the Defendants used force against him. The facts in the complaint support a claim that
the Defendants’ reaction when Plaintiff turned to ask them a question was excessive in relation
to the threat he may have posed. That allegation may or may not pan out, but at this early stage
of the case, the Court must take the allegations of the complaint as true.

        Accordingly, Plaintiff may proceed on his excessive force claim against Defendants
Gumble, Orozco, and Hidalgo. The Court directs the Clerk of Court to issue summonses for
service of the complaint on Defendants. The Court directs the Clerk to mail Plaintiff three
USM-285 (Marshals service) forms and advises Plaintiff that a completed USM-285 form is
required for service for each Defendant. The Marshal will not attempt to serve a Defendant
unless and until the required form for that Defendant is received. Plaintiff must therefore
complete and return service forms for Defendants, and failure to do so may result in dismissal of
an unserved Defendant or dismissal of this case in its entirety.

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  Although Plaintiff mentions his missed medication in the complaint, he focuses on the May 16, 2020
events and only names the officers involved in those events as Defendants. Therefore, it does not appear
that Plaintiff is attempting to state a claim here relating to the medication. Even if he were attempting to
state such a claim, it is not certain that a claim regarding his medication would be properly joined to his
excessive force claim. See George v. Smith, 507 F.3d 605, 607 (7th Cir. 2007) (“Unrelated claims
against different defendants belong in different suits,” in part to avoid morass of claims and defendants,
“but also to ensure that prisoners pay the required filing fees—for the Prison Litigation Reform Act limits
to 3 the number of frivolous suits or appeals that any prisoner may file without prepayment of the
required fees.”)
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        The Court appoints the U.S. Marshals Service to serve Defendants. The Court directs
the Marshal to make all reasonable efforts to serve Defendants. With respect to any former
employee of Cook County Jail who can no longer be found at the work address provided by
Plaintiff, officials there must furnish the Marshal with the Defendant’s last-known address. The
Marshal will use the information only for purposes of effectuating service or to show proof of
service, and any documentation of the address shall be retained only by the Marshals Service.
The Court will not maintain address information in its file and the Marshal will not disclose the
information, except as necessary to serve a Defendant. The Court authorizes the Marshal to
send a request for waiver of service consistent with Federal Rule of Civil Procedure 4(d) before
attempting personal service.

         The Court instructs Plaintiff to file all future papers concerning this action with the Clerk
of this Court in care of the Prisoner Correspondent. Any letters or other documents sent
directly to a judge or that do not comply with these instructions may be disregarded by the Court
or returned to Plaintiff. Plaintiff must promptly submit a change-of-address notification if he is
transferred to another facility or released. Failure to do so may lead to dismissal of this action
for failure to comply with a Court order and for want of prosecution.

Plaintiff’s Motion for Attorney Representation

        Plaintiff’s motion for attorney representation is denied at this time. “There is no right to
court-appointed counsel in federal civil litigation.” Olson v. Morgan, 750 F.3d 708, 711 (7th
Cir. 2014). The Court, however, may request that an attorney represent an indigent litigant on a
volunteer basis under 28 U.S.C. § 1915(e)(1). In deciding whether to recruit counsel, the Court
engages in a two-step analysis: (1) has the plaintiff made a reasonable attempt to obtain counsel
on his own or been effectively precluded from doing so; and, if so, (2) given the factual and legal
complexity of the case, does this particular plaintiff appear competent to litigate the matter
himself. Pruitt v. Mote, 503 F.3d 647, 654-55 (7th Cir. 2007) (en banc). This analysis focuses
not only on the plaintiff’s ability to try the case, but also on his ability to gather evidence and
prepare and respond to motions. Navejar v. Iyiola, 718 F.3d 692, 696 (7th Cir. 2013).

        First, Plaintiff indicates he has contacted only one attorney: Sean Brown. A review of
Mr. Brown’s website indicates he would be unlikely to accept this type of litigation, absent
recruitment by the Court. See, The Law Office of Sean Brown, Cases We Handle,
https://attorneyseanbrown.com/cases-we-handle (last visited Oct. 21, 2020). Plaintiff therefore
has not made reasonable attempts to secure counsel on his own. Second, recruitment of counsel
is unnecessary at this time. This case is in its very early stages and the Court has not had
sufficient opportunity to determine if Plaintiff is able to proceed on his own. Romanelli v.
Suliene, 615 F.3d 847, 852 (7th Cir. 2010) (noting that counsel is often unnecessary at the
beginning stages of a case). Plaintiff may renew his request for an attorney at a later stage of
the case.


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Plaintiff’s Request for Clarification

        Lastly, the Court notes that Plaintiff submitted a letter in which he requests clarification
of two matters. Pl.’s Letter (Dckt. No. 5). First, he asks how to determine who is representing
Defendants in this matter. Defendants have not yet been served; therefore, no attorney has
entered an appearance on their behalf. Plaintiff will receive notice once an attorney appears for
Defendants. Second, Plaintiff expresses confusion as to why it appears from the case caption
that Officer Orozco is the only named Defendant. Although the case name, Rojas v. Orozco et
al., only lists one Defendant’s name, Officers Orozco, Hidalgo, and Gumble are all listed as
Defendants on the full docket. Plaintiff is proceeding against all three officers.




Date: December 3, 2020

                                                      Steven C. Seeger
                                                      United States District Judge




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